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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DEBRA MCCARTHY, et al.,                     :      Civil No. 3:21-CV-1759
                                            :
      Plaintiffs,                           :      (Judge Mariani)
                                            :
v.                                          :      (Magistrate Judge Carlson)
                                            :
RAUL JAUREGUI, et al.,                      :
                                            :
      Defendants.                           :

                    REPORT AND RECOMMENDATION

I.    Statement of Facts and of the Case

      This case, which comes before us for consideration of two motions to dismiss,

(Docs. 13 and 15), as well as a motion for sanctions, (Doc. 16), presents competing

claims of litigation misconduct which play out against the backdrop of a highly

charged, emotionally divisive issue: sexual violence on a college campus.

      The well-pleaded facts set forth in the plaintiffs’ amended complaint, which

guide our consideration of these motions recite that the plaintiff, Devin McCarthy,

is a New York resident who was a student at King’s College, in Wilkes-Barre,

Pennsylvania. (Doc. 4, ¶ 4). Plaintiff, Debra McCarthy is also a New York resident

and is the mother of Devin McCarthy. (Id., ¶ 5). Plaintiff Oluwatomisin Olasimbo is

a King’s College student and resident of Maryland. (Id., ¶ 6). The defendants are

Daniel Boye, a former King’s College student who was expelled from that school


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following a Title IX misconduct proceeding, and Raul Jauregui, an attorney who

represented Boye. Both defendants allegedly reside in Pennsylvania. (Id., ¶¶ 7, 8).

      According to the complaint, Devin McCarthy, Ms. Olasimbo, and Mr. Boye

enrolled in King’s College as freshmen in August of 2019. During their first semester

at college, Ms. McCarthy and Mr. Boye engaged in a consensual sexual relationship

which Ms. McCarthy drew to a close by the Spring semester of 2020. (Id., ¶¶ 9-13).

      Ms. McCarthy returned to King’s College by August 29, 2020 to commence

the Fall 2020 semester at the school. On August 29, 2020, Ms. McCarthy attended

an on-campus party where she drank to excess, leaving her unable to recall much of

what transpired during the evening and early morning hours of August 30, 2020.

(Id., ¶¶ 14-22). Ultimately at approximately 4:00 a.m., Ms. McCarthy found herself

in Room 310 at O’Hara Hall, on the King’s College campus, a room occupied by

Mr. Boye and several other students. Ms. McCarthy and an unnamed student were

in Room 310 in various states of undress when Mr. Boye entered the room.

(Id., ¶¶ 23-25).

      While Ms. McCarthy’s memory of these events was impaired due to her state

of intoxication, the complaint alleges that other witnesses observed that she was

clearly impaired. Ms. McCarthy left Room 310 at approximately 4:36 a.m., aided by

another, unnamed student since she was struggling to maintain her balance.

(Id., ¶¶ 27-30). It was during this time that it is alleged that Mr. Boye and others


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planned to lure Ms. McCarthy back to Room 310 in order to engage in sex with her.

In fact, a heavily inebriated Ms. McCarthy returned to Room 310 in the company of

an unnamed student at approximately 5:16 a.m. (Id., ¶¶ 28-32).

       Several hours later at approximately 8:00 a.m. Ms. McCarthy awoke to find

herself in Boye’s bed experiencing anal, vaginal and chest pain. Boye then escorted

McCarthy back to her dormitory where Ms. Olasimbo, who resided in the dorm room

next door, observed McCarthy to be disoriented and intoxicated. McCarthy also

advised Olasimbo that she believed that Boye had engaged in sex acts with her

earlier that evening when she was impaired and was unable to consent. (Id., ¶¶34-

38).

       Olasimbo remained with McCarthy throughout the day and into the evening

of August 30, 2020. On the advice of a family member, Ms. Olasimbo later

transported McCarthy to a hospital emergency room, where she was seen and

treated. While at the hospital Ms. McCarthy explained that, while she had no

memory of any sexual encounter, she believed based upon her physical discomfort

that Boye had engaged in sexual relations with her while she was too intoxicated to

consent. A rape kit then confirmed male DNA samples indicative of vaginal and anal

penetration. (Id., ¶¶ 39-42).

       Upon her release from the hospital, Ms. McCarthy filed a Title IX complaint

with King’s College alleging that she had been sexually assaulted by Boye.


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McCarthy’s mother, Debra McCarthy, also requested that a Title IX investigation be

undertaken. (Id., ¶¶ 60-65).

      An investigation and Title IX proceedings then ensued. In the course of this

investigation, Boye was interviewed and admitted to engaging in sexual intercourse

and oral sex with McCarthy at a time when he knew she was intoxicated. (Id., ¶¶ 45-

54). Other witnesses confirmed that Ms. McCarthy was intoxicated at the time of

this incident. In contrast, Boye was described as sober when he indulged in this

conduct. (Id., ¶¶ 55-59).

      As these Title IX proceedings moved forward, Boye hired Attorney Raul

Jauregui to represent him. (Id., ¶ 66). Boye and Jauregui then pursued what the

complaint describes as a “baseless and retaliatory Title IX counterclaim” against

Devin McCarthy. (Id., ¶ 67). In this counterclaim Boye, acting on the advice of

Jauregui, now alleged that he had been the victim of prolonged sexual violence at

the hands of Ms. McCarthy, allegations which he had never raised during the initial

Title IX investigation into his own conduct. (Id., ¶¶ 68-70). When King’s College

officials opened an investigation into Boye’s claims, he recanted or modified many

of his initial allegations, characterizing Ms. McCarthy conduct as bold rather than

threatening, acknowledging that he initiated some types of sexual activity, and

admitting that on August 29, 2020, he had discussed with others the possibility of




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indulging in group sex with McCarthy while she was heavily intoxicated. (Id., ¶¶ 70-

76).

       The complaint further alleges that Boye and Jauregui also endeavored to

intimidate Ms. Olasimbo, a potential witness in the Title IX proceeding, by filing a

baseless and retaliatory Title IX complaint against her as well. In this Title IX

complaint Boye and Jauregui allegedly asserted that Ms. Olasimbo was attempting

to intimidate their witnesses through a text message exchange with a non-party

student. (Id., ¶¶ 77-84).

       According to the complaint, Boye and Jauregui did not limit their efforts at

intimidation to the submission of Title IX claims. It is also alleged that the

defendants filed a civil lawsuit in the Court of Common Pleas of Luzerne County

against Ms. McCarthy’s mother, Debra McCarthy, asserting a defamatory claim

against Mrs. McCarthy based upon her email request to King’s College staff that

they undertake a Title IX investigation of her daughter’s alleged sexual assault.

(Id., ¶¶ 85-91).

       These alleged efforts at intimidation were ultimately unavailing. Boye’s Title

IX claims and counterclaims against Ms. McCarthy and Ms. Olasimbo were

rejected. (Id., ¶ 92). King’s College found against Boye on McCarthy’s Title IX

complaint, concluding that he had sexually assaulted McCarthy. Boye was then

expelled from the college. (Id.) As for Boye’s defamation lawsuit, the parties report


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that this case remains pending in the Luzerne County Court of Common Pleas. (Doc.

42).

       Cast against this factual backdrop, and relying upon the diversity jurisdiction

of this court, the plaintiffs’ amended complaint brings six claims: First, Devin

McCarthy sues Daniel Boye for battery arising out of this alleged sexual assault. (Id.

Count I). Second, Devin and Debra McCarthy sue Boye and his former counsel

Jauregui for abuse of process, alleging that the defendants used the Luzerne County

defamation lawsuit lodged against Debra McCarthy for an illicit purpose, namely;

to dissuade Devin McCarthy from pursuing her Title IX claim against Boye. (Id.,

Count II). Third, Devin McCarthy brings an abuse of process claim against Boye

and Jauregui premised upon what she alleges was a baseless and knowingly false

Title IX counterclaim alleging that McCarthy sexually abused Boye. (Id., Count III).

Fourth, Ms. Olasimbo brings a similar abuse of process claim against Boye and

Jauregui based upon what she alleges was a false Title IX witness intimidation

counterclaim which the defendants lodged against her. (Id., Count IV). Fifth, Devin

McCarthy lodges an intentional infliction of emotional distress claim against all of

the defendants based upon what she asserts was an effort by her rapist, Boye, with

the assistance of counsel, Jauregui, to falsely accuse her of sexual misconduct. (Id.,

Count V). Finally, Devin and Debra McCarthy bring a state statutory Dragonetti Act

claim against Boye and Jauregui, alleging that the Luzerne County defamation


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lawsuit was brought vexatiously against Mrs. McCarthy for an improper purpose.

(Id., Count VI). Based upon these averments of litigation misconduct by Boye and

Jauregui, the plaintiffs seek individual damages in excess of $75,000 each, along

with attorneys’ fees. (Id.)

      This amended complaint has inspired a brace of defense motions, including

two motions to dismiss which challenge both the court’s subject matter jurisdiction

as well as the legal and factual sufficiency of the plaintiffs’ claims. (Docs. 13 and

15). Additionally, in a case which entails allegations of litigation misconduct by the

defendants, Defendant Boye has filed a motion for sanctions which asserts claims of

litigation misconduct by plaintiffs’ counsel. (Doc. 16).

      These motions are fully briefed and are, therefore, ripe for resolution. For the

reasons set forth below, it is recommended as follows: The defendants’ motions to

dismiss (Docs. 13 and 15), should be GRANTED, in part, and DENIED, in part, as

follows: The motions should be GRANTED with respect to the Dragonetti Act

claims set forth in Count VI of the amended complaint, but DENIED in all other

respects. IT IS FURTHER recommended that Defendant Boye’s motion for

sanctions (Doc. 16) be DENIED.




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II.   Discussion

      A.     12(b)(1) Motion to Dismiss – Standard of Review

      Federal Rule of Civil Procedure 12(b)(1) provides that a court may dismiss a

complaint for “lack of subject matter jurisdiction.” A motion to dismiss under Rule

12(b)(1) thus challenges the power of the court to hear a case or consider a claim.

Petruska v. Gannon Univ., 462 F.3d 294, 302 (3d Cir. 2006). When faced with a

12(b)(1) motion, the plaintiff has the burden to “convince the court it has

jurisdiction.” Gould Elecs., Inc. v. United States, 220 F.3d 169, 178 (3d Cir. 2000);

see also Kehr Packages v. Fidelcor, Inc., 926 F.2d 1406, 1409 (3d Cir. 1991) (“When

subject matter jurisdiction is challenged under Rule 12(b)(1), the plaintiff must bear

the burden of persuasion”).

      Motions under Rule 12(b)(1) come in two varieties. First, a “facial” attack

“contests the sufficiency of the pleadings.” Common Cause of Pa. v. Pennsylvania,

558 F.3d 249, 257 (3d Cir. 2009) (quoting Taliaferro v. Darby Twp. Zoning Bd., 458

F.3d 187-88 (3d Cir. 2006)). Such a facial challenge “attacks the complaint on its

face without contesting its alleged facts, is like a 12(b)(6) motion in requiring the

court ‘to consider the allegations of the complaint as true.’ ” Hartig Drug Company,

Inc. v. Senju Pharmaceutical Co., Ltd., 836 F.3d 261, 268 (3d Cir. 2016). Thus, in

ruling on such a motion, the court assumes the truth of the allegations in the

complaint but must analyze the pleadings to determine whether they state an action


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that comes within the court's jurisdiction. United States ex rel. Atkinson v. Pa.

Shipbuilding Co., 473 F.3d 506, 514 (3d Cir. 2007). A facial 12(b)(1) motion should

be granted only if it appears certain that the assertion of subject-matter jurisdiction

is improper. Kehr Packages, 926 F.2d at 1408-09; Empire Kosher Poultry, Inc. v.

United Food & Commercial Workers Health & Welfare Fund of Ne. Pa., 285 F.

Supp. 2d 573, 577 (M.D. Pa. 2003).

      In contrast, a “factual” attack on subject-matter jurisdiction asserts that

although the pleadings facially satisfy jurisdictional requirements, one or more

allegations in the complaint is untrue, which therefore causes the action to fall

outside the court's jurisdiction. Carpet Group, Int'l v. Oriental Rug Imps. Ass'n, Inc.,

227 F.3d 62, 69 (3d Cir. 2000); Mortensen v. First Fed. Sav. & Loan Ass'n, 549 F.2d

884, 891 (3d Cir. 1977). In ruling on factual challenges, a court must consider the

merits of the disputed allegations, since “the trial court's ... very power to hear the

case” is in dispute. Mortensen, 549 F.2d at 891.

      B.     12(b)(6) Motion to Dismiss – Standard of Review

      A motion to dismiss tests the legal sufficiency of a complaint. It is proper for

the court to dismiss a complaint in accordance with Rule 12(b)(6) of the Federal

Rules of Civil Procedure only if the complaint fails to state a claim upon which relief

can be granted. Fed. R. Civ. P. 12(b)(6). With respect to this benchmark standard for

the legal sufficiency of a complaint, the United States Court of Appeals for the Third


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Circuit has aptly noted the evolving standards governing pleading practice in federal

court, stating that:

       Standards of pleading have been in the forefront of jurisprudence in
       recent years. Beginning with the Supreme Court’s opinion in Bell
       Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), continuing with our
       opinion in Phillips [v. County of Allegheny, 515 F.3d 224, 230 (3d Cir.
       2008)], and culminating recently with the Supreme Court’s decision in
       Ashcroft v. Iqbal, U.S. , 129 S. Ct. 1937 (2009), pleading standards
       have seemingly shifted from simple notice pleading to a more
       heightened form of pleading, requiring a plaintiff to plead more than
       the possibility of relief to survive a motion to dismiss.

Fowler v. UPMC Shadyside, 578 F.3d 203, 209-10 (3d Cir. 2009).

       In considering whether a complaint fails to state a claim upon which relief

may be granted, the court must accept as true all allegations in the complaint and all

reasonable inferences that can be drawn therefrom are to be construed in the light

most favorable to the plaintiff. Jordan v. Fox, Rothschild, O’Brien & Frankel, Inc.,

20 F.3d 1250, 1261 (3d Cir. 1994). However, a court “need not credit a complaint’s

bald assertions or legal conclusions when deciding a motion to dismiss.” Morse v.

Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997). Additionally, a court

need not “assume that a . . . plaintiff can prove facts that the . . . plaintiff has not

alleged.” Associated Gen. Contractors of Cal. v. California State Council of

Carpenters, 459 U.S. 519, 526 (1983). As the Supreme Court held in Bell Atlantic

Corp. v. Twombly, 550 U.S. 544 (2007), in order to state a valid cause of action, a

plaintiff must provide some factual grounds for relief which “requires more than


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labels and conclusions, and a formulaic recitation of the elements of a cause of

actions will not do.” Id., at 555. “Factual allegations must be enough to raise a right

to relief above the speculative level.” Id.

       In keeping with the principles of Twombly, the Supreme Court has

underscored that a trial court must assess whether a complaint states facts upon

which relief can be granted when ruling on a motion to dismiss. In Ashcroft v. Iqbal,

556 U.S. 662 (2009), the Supreme Court held that, when considering a motion to

dismiss, a court should “begin by identifying pleadings that, because they are no

more than conclusions, are not entitled to the assumption of truth.” Id., at 679.

According to the Supreme Court, “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Id., at 678. Rather,

in conducting a review of the adequacy of a complaint, the Supreme Court has

advised trial courts that they must:

       [B]egin by identifying pleadings that because they are no more than
       conclusions are not entitled to the assumption of truth. While legal
       conclusions can provide the framework of a complaint, they must be
       supported by factual allegations. When there are well-pleaded factual
       allegations, a court should assume their veracity and then determine
       whether they plausibly give rise to an entitlement to relief.

Id., at 679.

       Thus, following Twombly and Iqbal, a well-pleaded complaint must contain

more than mere legal labels and conclusions; it must recite factual allegations



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sufficient to raise the plaintiff’s claimed right to relief beyond the level of mere

speculation. As the United States Court of Appeals for the Third Circuit has stated:

      [A]fter Iqbal, when presented with a motion to dismiss for failure to
      state a claim, district courts should conduct a two-part analysis. First,
      the factual and legal elements of a claim should be separated. The
      District Court must accept all of the complaint’s well-pleaded facts as
      true, but may disregard any legal conclusions. Second, a District Court
      must then determine whether the facts alleged in the complaint are
      sufficient to show that the plaintiff has a “plausible claim for relief.” In
      other words, a complaint must do more than allege the plaintiff’s
      entitlement to relief. A complaint has to “show” such an entitlement
      with its facts.

Fowler, 578 F.3d at 210-11.

      As the Court of Appeals has observed:

      The Supreme Court in Twombly set forth the “plausibility” standard for
      overcoming a motion to dismiss and refined this approach in Iqbal. The
      plausibility standard requires the complaint to allege “enough facts to
      state a claim to relief that is plausible on its face.” Twombly, 550 U.S.
      at 570, 127 S. Ct. 1955. A complaint satisfies the plausibility standard
      when the factual pleadings “allow[ ] the court to draw the reasonable
      inference that the defendant is liable for the misconduct alleged.” Iqbal,
      129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 556, 127 S. Ct. 1955).
      This standard requires showing “more than a sheer possibility that a
      defendant has acted unlawfully.” Id. A complaint which pleads facts
      “merely consistent with” a defendant’s liability, [ ] “stops short of the
      line between possibility and plausibility of ‘entitlement of relief.’ ”

Burtch v. Milberg Factors, Inc., 662 F.3d 212, 220-21 (3d Cir. 2011), cert. denied,

132 S. Ct. 1861 (2012).

      In practice, consideration of the legal sufficiency of a complaint entails a

three-step analysis:


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      First, the court must “tak[e] note of the elements a plaintiff must plead
      to state a claim.” Iqbal, 129 S. Ct. at 1947. Second, the court should
      identify allegations that, “because they are no more than conclusions,
      are not entitled to the assumption of truth.” Id., at 1950. Finally, “where
      there are well-pleaded factual allegations, a court should assume their
      veracity and then determine whether they plausibly give rise to an
      entitlement for relief.”

Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010) (quoting Iqbal, 129

S. Ct. at 1950).

      In considering a motion to dismiss, the court generally relies on the complaint,

attached exhibits, and matters of public record. Sands v. McCormick, 502 F.3d 263,

268 (3d Cir. 2007). The court may also consider “undisputedly authentic

document[s] that a defendant attached as an exhibit to a motion to dismiss if the

plaintiff’s claims are based on the [attached] documents.” Pension Benefit Guar.

Corp. v. White Consol. Indus., 998 F.2d 1192, 1196 (3d Cir. 1993). Moreover,

“documents whose contents are alleged in the complaint and whose authenticity no

party questions, but which are not physically attached to the pleading, may be

considered.” Pryor v. Nat’l Collegiate Athletic Ass’n, 288 F.3d 548, 560 (3d Cir.

2002); see also U.S. Express Lines, Ltd. v. Higgins, 281 F.3d 382, 388 (3d Cir. 2002)

(holding that “[a]lthough a district court may not consider matters extraneous to the

pleadings, a document integral to or explicitly relied upon in the complaint may be

considered without converting the motion to dismiss in one for summary

judgment”). However, the court may not rely on other parts of the record in


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determining a motion to dismiss, or when determining whether a proposed amended

complaint is futile because it fails to state a claim upon which relief may be granted.

Jordan v. Fox, Rothschild, O’Brien & Frankel, 20 F.3d 1250, 1261 (3d Cir. 1994).

       C.     This Court Has Subject Matter Jurisdiction

       At the outset, in his motion to dismiss Defendant Boye launches a twofold

assault upon this court’s subject matter jurisdiction. Noting that the plaintiffs’

amended complaint brings solely state law claims premised upon the federal court’s

diversity jurisdiction, Boye insists, first, that there is no perfect diversity of

citizenship in this case and argues, second, that the plaintiffs’ claims do not meet the

jurisdictional threshold for the exercise of diversity jurisdiction prescribed by

statute.

       These jurisdictional challenges warrant only brief consideration by this court.

In this regard, Boye’s jurisdictional arguments challenge the power of the court to

entertain this case. On this score it is well-settled that federal courts are courts of

limited jurisdiction. As a general rule, there are two primary grounds for federal

district court jurisdiction over a civil lawsuit. First, “district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and is between–(1) citizens of

different States.” 28 U.S.C. § 1332(a)(1) (emphasis added). This ground of federal

jurisdiction is known as diversity jurisdiction. The second principal ground for


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invoking the jurisdiction of a federal court is known as federal question jurisdiction.

Under this ground of jurisdiction, “district courts shall have original jurisdiction of

all civil actions arising under the Constitution, laws, or treaties of the United States.”

28 U.S.C. § 1331.

      In the instant case, the plaintiffs are pursuing claims rooted in state law.

Therefore, in order for this court to entertain these claims it must be shown that the

litigants are citizens of different states and the amount in controversy exceeds

$75,000. In his motion to dismiss Boye attacks both of these prerequisites to federal

jurisdiction, alleging that because he, McCarthy and Olasimbo were all enrolled

together at King’s College in Wilkes-Barre, Pennsylvania, there was no diversity of

citizenship, and further contending that the amount in controversy does not reach

$75,000 as a matter of law.

      In our view both of these arguments fail. First, Boye’s claim that diversity of

citizenship is lacking misconstrues what constitutes citizenship in the context of a

case involving collegians. Boye would have us assume that McCarthy, Olasimbo

and the defendants were all citizens of Pennsylvania because the students were

enrolled together at King’s College, thus defeating diversity jurisdiction. Boye’s

argument, which relies upon the transitory, presence of these parties at King’s

College during the academic year to contest diversity, ignores the legal standards

defining citizenship for purposes of asserting diversity jurisdiction. As a general


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rule an individual is a citizen of the state where he or she is domiciled, meaning the

state where he or she is physically present and intends to remain. Holliday v. Prime

Care Med., 520 F. Supp. 3d 639, 643 (E.D. Pa. 2021). For purposes of diversity

jurisdiction, citizenship is synonymous with domicile, and the domicile of an

individual is his or her true, fixed and permanent home and place of habitation. Park

v. Tsiavos, 165 F. Supp. 3d 191, 198 (D.N.J. 2016), aff'd, 679 F. App'x 120 (3d Cir.

2017).

      With respect to out of state college students like the plaintiffs, Ms. McCarthy

and Ms. Olasimbo, the legal tents governing domicile and citizenship analysis can

be simply stated: “It is generally presumed that a student who attends a university in

a state other than the student's ‘home’ state intends to return ‘home’ upon completion

of studies.” Park v. Tsiavos, 679 F. App'x 120, 125–26 (3d Cir. 2017) (quoting

Bradley v. Zissimos, 721 F.Supp. 738, 739 n.3 (E.D. Pa. 1989)). Thus, absent some

further proof that the plaintiffs intended to make Pennsylvania their fixed and

permanent home, the happenchance that Ms. McCarthy and Ms. Olasimbo were

attending college in Pennsylvania as out of state students when Ms. McCarthy was

allegedly sexually assaulted by Boye would not destroy diversity jurisdiction. This

claim fails.

      Boye’s contention that the allegations in the complaint fail to meet §1332’s

$75,000 jurisdictional threshold are equally unavailing. While the plaintiffs bear the


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burden of satisfying this jurisdictional threshold at the motion to dismiss stage it has

also been held:

      [T]hat burden is not especially onerous. In reviewing the complaint,
      “the sum claimed by the plaintiff controls if the claim is apparently
      made in good faith. It must appear to a legal certainty that the claim is
      really for less than the jurisdictional amount to justify dismissal.” St.
      Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288–89, 58
      S.Ct. 586, 82 L.Ed. 845 (1938). “Accordingly, the question whether a
      plaintiff's claims pass the ‘legal certainty’ standard is a threshold matter
      that should involve the court in only minimal scrutiny of the plaintiff's
      claims.” Suber v. Chrysler Corp., 104 F.3d 578, 583 (3d Cir. 1997).

Auto-Owners Ins. Co. v. Stevens & Ricci Inc., 835 F.3d 388, 395 (3d Cir. 2016).

      This is an exacting standard for dismissal of a complaint which alleges on its

face the jurisdictional damages threshold prescribed by law, and Boye plainly has

not met his burden of showing to a legal certainty that the claim is really for less

than the jurisdictional amount.

      In this regard, when deciding whether Boye has shown to a legal certainty that

this claim has a dollar value of less than $75,000 we begin as we must with the well-

pleaded allegations in the complaint. That complaint asserts that Boye raped and

sodomized an incapacitated woman who was unable to give consent, indulging in

multiple physical violations of his victim. The complaint then asserts that Boye

compounded the physical violation of his victim through a calculated pattern of

deceit, falsely claiming that the woman he is alleged to have raped had instead

victimized him through acts of sexual violence. According to the complaint, Boye


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also chose to level false accusations of misconduct against his victim’s mother and

another classmate in a cynical effort to dissuade them from pursuing the Title IX

complaint arising out of his own sexual misdeeds.

       Given these well-pleaded facts set forth in the complaint, Boye’s challenge to

the court’s subject matter jurisdiction is little more than an invitation to trivialize the

trauma he is alleged to have visited upon the plaintiffs. We reject the notion that the

matters alleged here, which involved the premeditated physical and emotional abuse

of others, are not worthy of federal court jurisdiction. Therefore, we should decline

this invitation, rebuff this jurisdictional challenge and deny the motion to dismiss

this complaint under Rule 12(b)(1).

       D.     The Defendants’ Rule 12(b)(6) Motions to Dismiss Should Be
              Granted, in Part, and Denied, in Part.

       The defendants have also moved to dismiss a number of the plaintiffs’ claims,

arguing that the complaint fails to state claims upon which relief may be granted. In

particular, these motions challenge the legal sufficiency of the plaintiffs’ state law

abuse of process, intentional infliction of emotional distress, and Dragonetti Act

claims. In addition, Boye argues that, despite his alleged admissions that he engaged

in multiple sex acts with Ms. McCarthy at a time when she was impaired and unable

to give consent, the fact of her impairment now as a matter of law defeats her state

law battery claim.



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      As discussed below, upon consideration we believe that Count VI of the

amended complaint, the Dragonetti Act claim fails at this time because the

underlying state defamation case has not concluded. Therefore the motions to

dismiss should be granted with respect to Count VI. However, in all other respects

the motions to dismiss should be denied.

               1. The Plaintiffs’ Dragonetti Act Claim Fails as a Matter of Law.

      At the outset, we find that the plaintiffs’ Dragonetti Act claim fails for a single,

simple reason. The Dragonetti Act, which created a form of statutory abuse of

process claim under state law provides that:

      A person who takes part in the procurement, initiation or continuation
      of civil proceedings against another is subject to liability to the other
      for wrongful use of civil proceedings [if]:

      (1) he acts in a grossly negligent manner or without probable cause and
      primarily for a purpose other than that of securing the proper discovery,
      joinder of parties or adjudication of the claim in which the proceedings
      are based; and

      (2) the proceedings have terminated in favor of the person against
      whom they are brought.

42 Pa.C.S. § 8351 (bold emphasis added). Thus, a favorable termination of the

underlying civil claim brought against the Dragonetti Act plaintiff is an essential

prerequisite to such a claim. Hyldahl v. Denlinger, 661 F. App'x 167, 171 (3d Cir.

2016).




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      In this case, the plaintiffs’ Dragonetti Act claim as set forth in Count VI of the

amended complaint alleges that Boye and Jauregui brought a Luzerne County

defamation lawsuit against Mrs. McCarthy for an improper purpose. However, all

parties concede that lawsuit is currently pending in the Court of Common Pleas.

(Doc. 42). Therefore, an essential element of this statutory claim—a favorable

termination of the underlying lawsuit—is not present in this case. Accordingly, at

this juncture the plaintiffs’ Dragonetti Act claim fails as a matter of law. Therefore,

Count VI of the amended complaint should be dismissed.

               2. The Remaining Counts of the Complaint Are Not Subject to
                  Dismissal on the Pleadings.

      As for the remaining counts of this complaint, upon consideration we

recommend that the various defense motions to dismiss be denied.

                    a. McCarthy’s Battery Claim May Not Be Dismissed

      Some of these defense contentions warrant only brief consideration by this

court. For example, Defendant Boye has moved to dismiss Count I of the complaint,

which alleges that he committed a tortious battery when he raped and sodomized

Ms. McCarthy at a time when she was incapacitated and unable to consent.

According to Boye, because Ms. McCarthy was incapacitated and is unable to recall

this assault her claims fail as a matter of law.

      This argument is risible and fails for at least two reasons.



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      First, as a legal matter it ignores settled Pennsylvania case law which

condemns and criminalizes sexual battery committed against persons who are

intoxicated or otherwise incapacitated and are unable to consent. Indeed,

Pennsylvania courts have expressly rejected the bankrupt legal proposition advanced

by Boye, the cynical notion that the victim’s unconscious state defeats an assault

claim. Quite the contrary, under Pennsylvania law the fact that someone perpetrates

a sexual assault upon a victim who is not in a state to consent proves an assault. See

e.g., Commonwealth v. Diaz, 2016 PA Super 291, 152 A.3d 1040, 1047 (2016).

      Boye’s argument also ignores the well-pleaded facts in the complaint which—

fairly construed—recite that Boye specifically targeted Ms. McCarthy for sexual

assault precisely because he knew that she was impaired and unable to consent, or

recall, details of the assault. Given these factual averments Boye cannot assert the

vice he exploited—his predation upon a profoundly impaired victim—as a virtue

that entitles him to dismissal of this battery claim. As to this battery claim, Boye’s

argument is frivolous and borders upon insulting. It should be rejected by this court.

                   b. The Intentional Infliction of Emotional Distress Claim is
                      Not Subject to Dismissal.

      Likewise, given the facts alleged in the amended complaint we conclude that

the plaintiffs’ intentional infliction of emotional distress claim cannot be dismissed

on the pleadings. To be sure, Pennsylvania law sets high benchmarks which must be



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met to state a tort claim of intentional infliction of emotional distress. As we have

observed:

      Under Pennsylvania law, the elements of a claim for intentional
      infliction of emotional distress are as follows: “(1) the conduct [of the
      defendant] must be extreme and outrageous; (2) it must be intentional
      or reckless; (3) it must cause emotional distress; [and] (4) that distress
      must be severe.” Hoy v. Angelone, 691 A.2d 476, 482 (Pa. Super. Ct.
      1997). . . . . It is difficult to make out a cognizable claim for intentional
      infliction of emotional distress, in no small part because “the conduct
      must be ‘so extreme in nature as to go beyond all possible bounds of
      decency such that it would be regarded as utterly intolerable to civilized
      society.’ ” Regan v. Twp. of Lower Merion, 36 F.Supp.2d 245, 251
      (E.D. Pa. 1999).

      Thus, with respect to claims for intentional infliction of emotional
      distress, “courts have been chary to allow recovery for a claim of
      intentional infliction of emotional distress. Only if conduct which is
      extreme or clearly outrageous is established will a claim be proven.”
      Hoy v. Angelone, 720 A.2d 745, 753-54 (Pa. 1998). Indeed, the
      Restatement (Second) of Torts instructs that

             It has not been enough that the defendant has acted with
             intent which is tortious or even criminal, or that he has
             intended to inflict emotional distress, or even that this
             conduct has been characterized by “malice,” or a degree
             of aggravation that would entitle the plaintiff to punitive
             damages for another tort.

      Restatement (Second) of Torts § 46, cmt. d; Hoy, 720 A.2d at 754. In
      keeping with these restrictive standards, the Pennsylvania Supreme
      Court has provided examples of conduct found to state a claim for
      intentional infliction of emotional distress, and such examples
      demonstrate the extraordinary nature of the theory:

             Cases which have found a sufficient basis for a cause of
             action of intentional infliction of emotional distress have
             had presented only the most egregious conduct. See e.g.,
             Papieves v. Lawrence, 437 Pa. 373, 263 A.2d 118

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             (1970) (defendant, after striking and killing plaintiff's son
             with automobile, and after failing to notify authorities or
             seek medical assistance, buried body in a field where
             discovered two months later and returned to parents
             (recognizing but not adopting section 46)); Banyas v.
             Lower Bucks Hospital, 293 Pa. Super. 122, 437 A.2d 1236
             (1981) (defendants intentionally fabricated records to
             suggest that plaintiff had killed a third party which led to
             plaintiff being indicted for homicide); Chuy v.
             Philadelphia Eagles Football Club, 595 F.2d 1265 (3d. Cir.
             1979) (defendant's team physician released to press
             information that plaintiff was suffering from fatal disease,
             when physician knew such information was false).

      Hoy, 720 A.2d at 754.

McCullough v. Wellspan York Hosp., No. 1:20-CV-979, 2021 WL 711476, at *4

(M.D. Pa. Feb. 5, 2021), report and recommendation adopted, No. 1:20-CV-979,

2021 WL 694800 (M.D. Pa. Feb. 23, 2021). While these are exacting legal standards

prescribed by state law to state a claim, it is also clear from the Restatement Second

of Torts that the type of outrageous conduct which will be sufficient to state a claim

includes unwarranted claims of sexual misconduct. For example, one of the

illustrations of this tort cited with approval in the Restatement involves the following

scenario describing false allegations of sexual misconduct:

       A, the principal of a high school, summons B, a schoolgirl, to his
      office, and abruptly accuses her of immoral conduct with various men.
      A bullies B for an hour, and threatens her with prison and with public
      disgrace for herself and her parents unless she confesses. B suffers
      severe emotional distress, and resulting illness. A is subject to liability
      to B for both.



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Restatement (Second) of Torts § 46, Illustration 6 (1965). Fairly construed, this

complaint alleges that the defendants did precisely what the commentary to the

Restatement indicates is an intentional infliction of emotional distress since Boye

and Jauregui are alleged to have falsely accused Ms. McCarthy of sexual

misconduct. Moreover, cases construing this tort have extended it to a host of

situations involving allegations of sexual abuse, reasoning that sexual violence is

outrageous conduct which is abhorrent and goes beyond all bounds of decency. See

e.g., Kane v. Chester Cnty. Dep't of Child., Youth & Fams., 10 F. Supp. 3d 671, 693

(E.D. Pa. 2014); Doe v. Schneider, 667 F. Supp. 2d 524, 533 (E.D. Pa. 2009);

Chancellor v. Pottsgrove Sch. Dist., 501 F. Supp. 2d 695, 711 (E.D. Pa. 2007).

      Given the allegations set forth in the plaintiffs’ amended complaint, we have

little difficulty concluding that the conduct described by the plaintiffs could be found

to be sufficiently outrageous to expose the defendants to tort liability. Fairly

construed, this pleading alleges that Boye caused an obviously intoxicated and

incapacitated Devin McCarthy to be lured back to his dorm room where he

repeatedly engaged in sex acts without her consent. It is then alleged that Boye, and

his counsel Jauregui, fabricated what they knew to be a false account, claiming that

Boye’s victim had, in fact, sexually abused Boye in the past in an attempt to dissuade

her from pursuing this rape allegation. These pleadings, in our view, describe

conduct which, if proven, would be outrageous. Therefore, the complaint states a


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colorable intentional infliction of emotional distress claim which may not be

dismissed at the pleadings stage.

                     c. The Complaint Adequately Alleges Abuse of Process
                        Claims

       While this aspect of the defense motions presents a somewhat closer case, we

also find at this threshold stage of the proceedings that the plaintiffs have sufficiently

stated common law abuse of process claims arising out of what are alleged to have

been false Title IX complaints, Title IX counterclaims, and civil lawsuits filed for

the purpose of intimidating the plaintiffs and deterring them from pursuing rape

claims against Boye. Like the tort of intentional infliction of emotional distress,

under Pennsylvania law a common law claim of abuse of process demands much of

a plaintiff.

       With respect to this claim, it is well-settled that:

               Under Pennsylvania law, “[t]he gist of an action for abuse
               of process is the improper use of process after it has been
               issued, that is, a perversion of it[.]” McGee v. Feege, 535
               A.2d 1020, 1023, 517 Pa. 247, 253 (Pa. 1987) (quoting
               Publix Drug Co. v. Breyer Ice Cream Co., 32 A.2d 413,
               415, 347 Pa. 346, 349-50 (Pa. 1943)). Among other
               prerequisites, a claim for abuse of process requires a
               plaintiff to establish that the defendant used a legal process
               against the plaintiff primarily to accomplish a purpose for
               which the process was not designed. Hart v. O'Malley, 436
               Pa. Super. 151, 647 A.2d 542, 551 (Pa. Super. Ct. 1994);
               Rosen v. American Bank of Rolla, 426 Pa. Super. 376, 627
               A.2d 190, 192 (Pa. Super. Ct. 1993). To satisfy the
               “perversion of process” element, the plaintiff must show
               “[s]ome definite act or threat not authorized by the

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      process, or aimed at an objective not legitimate in the use
      of the process.” Id. at 170-71, 627 A.2d 190 (quoting
      Shaffer v. Stewart, 326 Pa.Super. 135, 473 A.2d 1017,
      1019 (Pa. Super. Ct. 1984)). Furthermore, “there is no
      liability where the defendant has done nothing more than
      carry out the process to its authorized conclusion, even
      though with bad intentions.” Id. As the Third Circuit Court
      of Appeals noted, “the point of liability is reached when
      ‘the utilization of the procedure for the purpose for which
      it was designed becomes so lacking in justification as to
      lose its legitimate function as a reasonably justifiable
      litigation procedure.’ ” Gen. Refractories Co. v. Fireman's
      Fund Ins. Co., 337 F.3d 297, 308 (3d Cir. 2003) .... Thus,
      wide latitude is given to those who turn to legal processes
      as a means to accomplish a host of results.

Taliaferro v. Darby Township Zoning Board, No. 03-3554, 2008 WL
2078992. *8 (E.D. Pa. May 15, 2008). Therefore, since the “tort of
‘abuse of process’ is defined as the use of a legal process against
another ‘primarily to accomplish a purpose for which it is not designed’
[in order to] establish a claim for abuse of process it must be shown that
the defendant (1) used a legal process against the plaintiff, (2) primarily
to accomplish a purpose for which the process was not designed; and
(3) harm has been caused to the plaintiff.' Shiner v. Moriarty, 706 A.2d
1228, 1236 (Pa. Super. 1998) (citations omitted).” O'Hara v. Hanley,
No. 08-1393, 2009 WL 2043490, *11 (W.D. Pa. July 8, 2009).

In short, in order to state a valid state claim for abuse of process under
Pennsylvania law the plaintiffs must allege facts that show that the legal
process was used “primarily to accomplish a purpose for which the
process was not designed.” Id. Put another way, the gravamen of this
state law tort is “use [of] legal process as a ‘tactical weapon to coerce a
desired result that is not the legitimate object of the process.’ Gen.
Refractories v. Fireman's Fund Ins., 337 F.3d 297 (3d Cir. 2003)
(quoting McGee v. Feege, 517 Pa. 247, 535 A.2d 1020, 1026 (Pa. 1987)
).” O'Hara v. Hanley, supra, 2009 WL 2043490, *12. Construed in this
way, the state tort of abuse-of-process requires a plaintiff to plead facts
which show that the use of some legal process was not designed to
accomplish its stated goal, but rather was intended and perverted to
some other goal, solely to harass.

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Brunelle v. City of Scranton, No. 3:15-CV-960, 2018 WL 3725731, at *10 (M.D.

Pa. July 17, 2018), report and recommendation adopted, No. 3:15-CV-960, 2018

WL 3715718 (M.D. Pa. Aug. 3, 2018). Moreover, unlike a statutory Dragonetti Act

claim, under Pennsylvania law the common law tort of abuse of process does not

require the plaintiff to demonstrate that the underlying proceeding was terminated

in her favor. Hvizdak v. Linn, 2018 PA Super 170, 190 A.3d 1213, 1229 (2018)

(“Unlike an action for wrongful use of civil proceedings under 42 Pa.C.S. § 8351,

the tort of abuse of process does not require the plaintiff to demonstrate that the

underlying action terminated in his favor.”)

      Further, when considering an abuse of process claim “[t]he word ‘process’ as

used in the tort of abuse of process ‘has been interpreted broadly, and encompasses

the entire range of procedures incident to the litigation process.’ ” Rosen v. Am.

Bank of Rolla, 426 Pa. Super. 376, 381, 627 A.2d 190, 192 (1993). Thus, “the

Supreme Court [of Pennsylvania] has interpreted the tort broadly, making clear that

it ‘will not countenance the use of the legal process as a tactical weapon to coerce a

desired result that is not the legitimate object of the process.’ ” Gen. Refractories

Co. v. Fireman's Fund Ins. Co., 337 F.3d 297, 305 (3d Cir. 2003).

      Cast against this legal backdrop, we understand the defendants to make a

twofold assault upon these abuse of process claims. First, they generally argue that

the allegations in the complaint fail to describe an abuse of process.

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      We disagree. At this stage where we are confined to a consideration of the

well-pleaded facts in the complaint, we believe that the plaintiffs have adequately

alleged that the defendants endeavored to use process to a corrupt end by advancing

and pursuing meritless assertions solely to attempt to intimidate a rape victim and

her family and friends from pursuing claims of sexual assault.

      The defendants’ motions raise a second, somewhat closer, legal question

pertaining to whether an abuse of process claim lies in the setting of the school’s

administrative Title IX hearings. On this score, defendants argue that these

proceedings simply do not have sufficient legal trappings to constitute “process” for

purposes of an abuse of process claim.

      While this issue is not entirely free from doubt, upon reflection we conclude

that the Title IX proceedings should be regarded as a form of process giving rise to

an abuse of process claim. We reach this conclusion guided first by the expansive

interpretation of this tort that has long been embraced by Pennsylvania courts.

Rosen, 627 A.2d at 192. Moreover, we note that at least one state appellate court

decision has acknowledged that quasi-judicial administrative disciplinary hearings

constitute a form of process giving rise to a potential abuse of process claim.

Greenberg v. McGraw, 2017 Pa. Super 136, 161 A.3d 976, 987 (2017).1


1
 In Greenberg the Superior Court appears to have extended abuse of process claims
to quasi-judicial administrative discipline hearings, while holding that the mere
initiation of a false claim is insufficient to state a claim for abuse of process. Id.

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      This broad interpretation of what constitutes “process” for purposes of abuse

of process claims has, in turn, been expressly adopted by other courts which have

held that “quasi-judicial contested administrative determinations or proceedings that

establish the legal rights, duties, or privileges of a party after a hearing and that

embody sufficient attributes of judicial proceedings may generate causes of action

for . . . abuse of process.” Hillside Assocs. v. Stravato, 642 A.2d 664, 669 (R.I.

1994). On balance, we believe that this view, which extends abuse of process claims

to quasi-judicial disciplinary proceedings which are accompanied by a full panoply

of due process protections, represents the proper scope of this tort under

Pennsylvania law.

      Having concluded that abuse of process claims under Pennsylvania law

embrace certain types of quasi-judicial disciplinary hearings, we have little difficulty

concluding that a Title IX disciplinary hearing would constitute the type of process

encompassed by this tort. These disciplinary proceedings are expressly authorized

by federal regulations, 34 C.F.R. § 106.45, promulgated pursuant to Title IX’s



Rather, according to the court there must be some indication that the legal process
was later perverted to an improper end by the defendant. In this case, liberally
construing the complaint we believe that this requirement is met since it is alleged
that the defendants initiated and pursued false claims against the plaintiffs for the
improper purpose of coercing them into abandoning a meritorious sexual assault
claim. With our judgment cabined by the pleadings, these allegations are sufficient
in our view to state a claim. The question of whether any party can prove what they
allege must await another day.

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statutory command that: “No person in the United States shall, on the basis of sex, .

. . be subjected to discrimination under any education program or activity receiving

Federal financial assistance.” 20 U.S.C. § 1681(a). Moreover, these regulations

provide the parties to a Title IX proceeding with a full range of procedural rights

including notice, an opportunity to be heard and present witnesses and evidence, the

assistance of retained counsel, and a right to appeal adverse decisions. 34 C.F.R.

§ 106.45. Therefore, these disciplinary hearings establish the legal rights, duties, or

privileges of a party after a process that embodies the attributes of judicial

proceedings. As such, they are—and should be deemed to be—the type of legal

process which, if abused, gives rise to an abuse of process claim.

      Having found that abuse of process claims embrace both judicial proceedings

and quasi-judicial Title IX disciplinary proceedings, and further concluding that the

plaintiffs’ complaint otherwise adequately pleads abuse of process claims, it is

recommended that the motions to dismiss these claims be denied.

      E.     The Defendant’s Motion for Sanction Should Be Denied.2

      Finally, in this case marked by the plaintiffs’ allegations of litigation

misconduct against the defendants, Defendant Boye has filed a motion styled as a



2
 While a sanctions motion may be deemed a non-dispositive matter which we may
address by opinion and order, 28 U.S.C. §636, given that this sanctions motion is
inextricably intertwined with the merits arguments advanced by the parties, we are
addressing thus motion through a Report and Recommendation.

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motion for inherent sanctions, which invites the court to sanction plaintiffs’ counsel

for pursuing what Boye regards as false and meritless claims. (Doc. 16). As we

construe it this sanctions motion is largely bound up with, and defined by, the

parties’ merits litigation since the gravamen of the sanctions motions is Boye’s

insistence that plaintiffs’ counsel should be sanctioned for bringing patently

meritless claims against the defendants for some improper purpose. Construed in

this fashion, we recommend that this sanctions motion be denied since we have

found that the plaintiffs’ complaint, on the whole, states plausible claims for relief.

      The legal standards which govern motions for sanctions are familiar ones.

      At the outset, it is well-settled that a district court has the inherent
      power to sanction parties appearing before it for refusing to comply
      with its orders and to control litigation before it. See, e.g., Tracinda
      Corp. v. DaimlerChrysler AG, 502 F.3d 212, 242 (3d Cir.2007). Indeed,
      the inherent power of the Court to act in this area has long been
      recognized by the United States Supreme Court, which has held that:

             It has long been understood that “[c]ertain implied powers
             must necessarily result to our Courts of justice from the
             nature of their institution,” powers “which cannot be
             dispensed with in a Court, because they are necessary to
             the exercise of all others.” United States v. Hudson, 7
             Cranch 32, 34, 3 L.Ed. 259 (1812); see also Roadway
             Express, Inc. v. Piper, 447 U.S. 752, 764, 100 S.Ct. 2455,
             2463, 65 L.Ed.2d 488 (1980) (citing Hudson). For this
             reason, “Courts of justice are universally acknowledged to
             be vested, by their very creation, with power to impose
             silence, respect, and decorum, in their presence, and
             submission to their lawful mandates.” Anderson v. Dunn,
             6 Wheat. 204, 227, 5 L.Ed. 242 (1821); see also Ex parte
             Robinson, 19 Wall. 505, 510, 22 L.Ed. 205 (1874). These
             powers are “governed not by rule or statute but by the

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             control necessarily vested in courts to manage their own
             affairs so as to achieve the orderly and expeditious
             disposition of cases.” Link v. Wabash R. Co., 370 U.S.
             626, 630–631, 82 S.Ct. 1386, 1388–1389, 8 L.Ed.2d 734
             (1962).

      Chambers v. NASCO, Inc. 501 U.S. 32, 43, 111 S.Ct. 2123, 115
      L.Ed.2d 27 (1991).

O'Donnell v. Pennsylvania Dep't of Corr., No. 3:09-CV-1173, 2011 WL 3163230,

at *5–6 (M.D. Pa. July 26, 2011).

      Sanctions decisions rest in the sound discretion of the court. Id. However, a

      basic, but pivotal, aspect of the exercise of discretion in this area, . . . .
      [commands] that, “[b]ecause of their very potency, inherent powers
      must be exercised with restraint and discretion. A primary aspect of that
      discretion is the ability to fashion an appropriate sanction for conduct
      which abuses the judicial process.” Chambers v. NASCO, Inc. 501 U.S.
      at 44–45 (citation omitted).

O'Donnell, 2011 WL 3163230, at *6.

      Given this admonition that we exercise our inherent power to sanction with

restraint and discretion, we believe the motion to sanction plaintiffs’ counsel at the

outset of this litigation is premature and inappropriate. Moreover, this motion would

invite us to opine on the ultimate merits of the motives of all parties, a task which

should not be undertaken at this stage of the lawsuit, particularly when we have

concluded that the plaintiffs’ complaint for the most part asserts plausible claims

which cannot be dismissed on the pleadings alone. Therefore, this sanctions motion

should also be denied.


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III.   Recommendation

       For the foregoing reasons, IT IS RECOMMENDED THAT the defendants’

motions to dismiss (Docs. 13 and 15), should be GRANTED, in part, and DENIED,

in part, as follows: The motions should be GRANTED with respect to the Dragonetti

Act claims set forth in Count VI of the amended complaint, but DENIED in all other

respects. IT IS FURTHER recommended that Defendant Boye’s motion for

sanctions (Doc. 16) be DENIED.

       The parties are further placed on notice that pursuant to Local Rule 72.3:

       Any party may object to a magistrate judge's proposed findings,
       recommendations or report addressing a motion or matter described in
       28 U.S.C. § 636 (b)(1)(B) or making a recommendation for the
       disposition of a prisoner case or a habeas corpus petition within
       fourteen (14) days after being served with a copy thereof. Such party
       shall file with the clerk of court, and serve on the magistrate judge and
       all parties, written objections which shall specifically identify the
       portions of the proposed findings, recommendations or report to which
       objection is made and the basis for such objections. The briefing
       requirements set forth in Local Rule 72.2 shall apply. A judge shall
       make a de novo determination of those portions of the report or
       specified proposed findings or recommendations to which objection is
       made and may accept, reject, or modify, in whole or in part, the findings
       or recommendations made by the magistrate judge. The judge,
       however, need conduct a new hearing only in his or her discretion or
       where required by law, and may consider the record developed before
       the magistrate judge, making his or her own determination on the basis
       of that record. The judge may also receive further evidence, recall
       witnesses or recommit the matter to the magistrate judge with
       instructions.




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Submitted this 2d day of June 2023.


                                           S/ Martin C. Carlson
                                           Martin C. Carlson
                                           United States Magistrate Judge




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